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Brian M. Heberlig
202 429 8134
bheberlig@steptoe.com

1330 Connecticut Avenue, NW
Washington, DC 20036-1795
202 429 3000 main
www.steptoe.com




                                          February 22, 2020

 By ECF

 The Honorable Alison J. Nathan
 United States District Court
 Southern District of New York
 40 Foley Square, Room 2102
 New York, NY 10007

          Re:      United States v. Ali Sadr Hashemi Nejad, Case No. 18-cr-224 (AJN)

 Dear Judge Nathan:

        We write in response to the Court’s instruction to raise via letter any objections to
 government exhibits obtained from the email search warrant raw returns, through a process the
 government described as seeking “clean copies” of previously-seized documents. The
 government represented that the exhibits pulled from the provider data would be identical clean
 copies of the same content produced in the May 2018 production. 2/10/2018 Tr. 26-27 (Dkt. No.
 217).1 The government’s representation was summarized as follows:

          THE COURT: … And Mr. Krouse, the representation you're making to the Court
          is content-wise there will be nothing different than what has been what we have
          referred to over and over again as the May 2018 production, right?

          MR. KROUSE: Yes, your Honor, exactly.




          1
         Sadr raised his concerns with the government on Friday, February 21, 2020. The parties
 are working towards resolving several of Sadr’s concerns, but they will not be able to reach
 agreement regarding two categories of exhibits described in this letter.
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Id. at 21. Sadr objects to two categories of documents in the government’s exhibits, because the
new “clean” versions contain additional content that was not present in the previously-seized
versions.

        The government has produced 16 new exhibits from the provider data that contain more
content than what we have referred to as the May 2018 production. These exhibits fall into two
categories, both of which were addressed in Sadr’s February 6, 2020 pre-hearing letter. Dkt. No.
206 at 10-11. First, the government has produced 13 new exhibits2 that contain text and graphics
that were not in the May 2018 production. For these 13 exhibits, the May 2018 production only
included PDFs that cut off a portion of the entire document; it did not include the native files
reflected by the government’s new exhibits. For some of the exhibits, the May 2018 production
contained almost none of the text and graphics contained in the government’s new exhibits.3
Second, the government has produced 3 new exhibits4 that contain certain charts or text images
that were illegible in the May 2018 production. The May 2018 production did not contain a
useable version of these charts or images, making this an issue of content, not of mere
presentation.

        These 16 exhibits are inconsistent with the government’s representation that there would
be no differences in content between the exhibits based on native files taken from the provider
data and the pdf files produced in May 2018. The Court should require the government to use
the versions of these 16 exhibits contained in the May 2018 production.

                                             Respectfully submitted,

                                             /s/ Brian M. Heberlig________
                                             Reid H. Weingarten
                                             STEPTOE & JOHNSON LLP
                                             1114 Avenue of the Americas
                                             New York, NY 10036
                                             Tel: (212) 506-3900
                                             Fax: (212) 506-3950
                                             rweingarten@steptoe.com




       2
       GX 2014A, GX 2100A, GX 2100B, GX 2100C, GX 2100D, GX 2148B, GX 2171C,
DX 2172A, GX 2192C, GX 2192D, GX 2192E, GX 2192F, GX 2259A.
       3
         E.g., GX 2100A (May 2018 production contained less than one quarter of the page and
none of the data the government is likely to seek to use); GX 2100D (May 2018 production
contained less than one quarter of the page and none of the data the government is likely to seek
to use).
       4
           GX 1001A, GX 2046A, GX 2303A.
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                                    Brian M. Heberlig (Pro Hac Vice)
                                    Bruce C. Bishop (Pro Hac Vice)
                                    David M. Fragale
                                    Nicholas P. Silverman (Pro Hac Vice)
                                    STEPTOE & JOHNSON LLP
                                    1330 Connecticut Avenue, N.W.
                                    Washington, DC 20036
                                    Tel: (202) 429-3000
                                    Fax: (202) 429-3902
                                    bheberlig@steptoe.com

                                    Counsel for Defendant Ali Sadr Hashemi Nejad

cc:   Counsel of Record (via ECF)
